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                EXHIBIT C
                  Part 1
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      The                                                                                  Post Office Box 2000
Rawlings Company Li, C                                                           LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                             One Eden Parkway
                                                                                 LaGrange, Kentucky 40031-8100

                                                                                       Telephone (302) 587-1279

                                       September 22, 2015


Ms. Leslie Spagnoli
BIG Y FOODS INC
PO BOX 7840
SPRINGFIELD, MA 01102

Re:         Our Client:        Aetna
            Member/Patient:    NELLINA GUERRERA/NELLINA GUERRERA
            Date of Loss:      2/20/2015
            Our Reference No.: 68528002
            Your Number:        GC0352015046048

          NOTICE OF MEDICARE ADVANTAGE POLICY SUBROGATION CLAIM
       UNDER 42 C.F.R. § 422.108(f), 42 U.S.C. § 1395w-22(a)(4) and 42 U.S.C. § 1395mm(e)(4).

Dear Ms. Spagnoli:

       According to our investigation, NELLINA GUERRERA has received benefits under a Medicare
Advantage ("MA") policy issued by our client, Aetna in relation to the incident that occurred on 2/20/2015.
Pursuant to federal law, the health plan's recovery rights are equal to those of the federal government under
Medicare. See 42 C.F.R. § 422.108(f) ("The Medicare Advantage organization will exercise the same rights
to recover...that the Secretary exercises under the [Medicare Secondary Payor ("MSP")] regulations... ").
Aetna engaged The Rawlings Company, LLC ("TRC") to pursue its subrogation claim.

       Aetna has a right of recovery from all sources providing compensation for those injuries. State laws
that might otherwise limit our client's right of recovery are preempted. 42 U.S.C. § 1395w-22(a)(4) and 42
U.S.C. § 1395mm(e)(4) and 42 C.F.R. 422.108(f) ("A State cannot take away an MA organization's right
under Federal law and the MSP regulations... ").

         Aetna's claim is enforceable against any party in possession of funds, including, but not limited to,
liability insurance carriers and attorneys. The health plan's subrogation claim cannot be negotiated, settled,
resolved, or compromised in any way by the patient or the patient's representative. Before the patient's
claim for damages is resolved, BIG Y FOODS INC must contact TRC in order to settle the health plan's
direct subrogation claim for medical benefits.

        To satisfy the health plan's subrogation claim, issue a separate check payable to TRC. If BIG Y
FOODS INC fails to settle the subrogation claim directly with TRC, then BIG Y FOODS INC will
potentially expose your insured to additional liability and a possible excess judgment. Moreover, this failure
could result in additional claims against BIG Y FOODS INC. Specifically, failure to satisfy the MA plan's
claim could result in double damages. 42 C.F.R. 411.24(c)(2). Securing a release and/or an indemnification
agreement from the patient or their representative will not absolve BIG Y FOODS INC's obligation to
satisfy the subrogation claim.
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       The health plan's subrogation claim applies to any amount now due or that may become payable
because of payment of medical benefits on patient's behalf. You may only verify the exact amount of the
health plan's subrogation claim by contacting me directly. Please acknowledge receipt of this notice by
completing the attached form and returning it to me. Please contact me if you have any questions.

                                    Sincerely,




                                    Kevin E. James J.D.
                                    Subrogation Analyst
                                    (502) 587-9131
                                    FAX: (502) 565-1586
                                    kejl@rawlingscompany.com
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      PLEASE COMPLETE THE FOLLOWING REQUEST FOR INFORMATION

       Member/Patient:    NELLINA GUERRERA/NELLINA GUERRERA
       Our Reference No.: 68528002
       Please return or fax form to: Kevin E. James J.D. FAX: (502) 565-1586
Date of Loss:                                           State of Loss:

Type of Loss/Accident Details/Injuries:




   1. Med Pay/PIP/No-Fault/UM/UIM - Company/Claim Number:


Med Pay/PIP/No-Fault Adjuster Name          Phone/Fax                            Coverage Amount


UM/UIM Adjuster Name                        Phone/Fax                            Coverage Amount


    ➢ If payments have already been issued by your office, please provide a copy of your
      payment ledger. This will allow us to verify that no payments made by your office have
      been duplicated by the medical payments already made by our client
    2. Plaintiff Attorney/At-Fault Carrier(s)/Defense Counsel


Plaintiff Attorney                   Address                               Phone/Fax



At-Fault Carrier                     Claim Number/Adjuster Name            Phone/Fax



Defense Attorney                      Address                              Phone/Fax


                                          Check all that apply

❑ Settled/Settling                                   Comments:
❑ Denied/Not Denied/Dropped/Lost Case/Appealing      Comments:

❑ Pending/Other                                      Comments:



Name (printed)                                       Signature and Date:



Phone Number                                         Fax Number
               Case 3:17-cv-00621-KAD Document 1-4 Filed 04/13/17 Page 5 of 6


      The                                                                                             Post Office Box 2000
Rawlings Company LLC                                                                        LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                                        One Eden Parkway
                                                                                            LaGrange, Kentucky 40031-8100

                                                                                                  Telephone (502) 587-1279


                                               September 22, 2015

Ms. Leslie Spagnoli
BIG Y FOODS INC
PO BOX 7840
SPRINGFIELD, MA 01102

Re:         Our Client:             Aetna
            Member/Patient:         NELLINA GUERRERA/NELLINA GUERRERA
            Date of Loss:           2/20/2015
            Our Reference No.:      68528002
            Your Number:            GC0352015046048

Dear Ms. Spagnoli:

        The Rawlings Company, LLC ("TRC") previously notified you that Aetna is asserting a subrogation claim on
behalf of NELLINA GUERRERA's health plan.

         Enclosed is a summary of the medical expenses paid by our client on behalf of NELLINA GUERRERA in
connection with the injuries sustained on 2/20/2015. If you believe any of the charges are unrelated to the accident,
please notify me. The claim itemization should not be used for settlement purposes. Prior to settling, please contact me
to verify the amount paid by the health plan.

         As a reminder, the health plan's subrogation claim cannot be negotiated, settled, resolved, or compromised in
any way by the patient or patient's representative. The patient's claim should not be settled without notifying TRC of
the potential settlement and obtaining consent from TRC to the resolution of the health plan's subrogation claim. To
satisfy the subrogation claim, please issue a separate check payable to TRC when settlement funds are disbursed.

            I look forward to working with you in regard to resolving our client's subrogation interest.

                                             Sincerely,




                                              Kevin E. James J.D.
                                              Subrogation Analyst
                                              (502) 587-9131
                                              FAX: (502) 565-1586
                                              kejl@rawlingscompany.com


Healthcare information is personal and sensitive information, and you, the recipient, are obligated to maintain it in a safe,
secure and confidential manner. Disclosure of this information without additional patient consent or as permitted by law

        BENEFITS PROVIDED BY A MEDICARE REPLACEMENT POLICY UNDER 42 C.F.R. § 422.1080),
                        42 U.S.C. § 1395w-22(a)(4) and 42 U.S.C. § 1395mm(e)(4).
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is prohibited.
